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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                          MIAMI DIVISION
                            Case No.: 08-22111-CIV COOKE/BANDSTRA

   AUGUSTO MEDINA,

                            Plaintiff,
   v.

   UNITED CHRISTIAN EVANGELISTIC ASSOCIATION, et al.,

                            Defendants.
                                               /

                    ORDER GRANTING IN PART AND DENYING IN PART
                          DEFENDANTS’ MOTION TO DISMISS

          THIS MATTER is before the Court upon Defendants’ Motion to Dismiss [DE 5], filed

   in Case Number 08-22111-CIV. The Defendants named in this action include all of the business

   entities and Frederick Eikerenkoetter (hereinafter “Rev. Ike”), individually.1 The motion is fully

   briefed and ripe for adjudication.

          BACKGROUND

          Although the relevant facts here are, for all intents and purposes, identical to the facts set

   forth in this Court’s February 27, 2009 order of dismissal in Case No. 08-21930, they will be

   repeated here, with some additional details as necessary. Plaintiff, Augusto Medina, was hired in

   2001 by UCEA2 as a driver for Rev. Ike. He was also required to act as Rev. Ike’s valet and

   personal assistant. His duties, at various times, included dressing, massaging, manicuring, and


          1
          Initially, Case Number 08-22111-CIV was consolidated with Case Number 08-21930-
   CIV and administratively closed. See DE 13. However, an order dismissing Case Number 08-
   21930 has since been entered, and the present case has been reopened.
          2
            Plaintiff alleges that United Christian Evangelistic Association, United Christian
   Evangelistic Association of Florida, LLC, United Christian Evangelistic Association of Florida,
   Inc., and United Christian Evangelistic Association, Inc., were his joint employers. Defendants
   have not disputed this allegation. For ease and clarity, the acronym UCEA, as used in this order,
   shall refer to all named corporate or other business association Defendants in this case.
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   otherwise catering to Rev. Ike. During the course of his employment, Medina was also required

   to perform sexual acts upon Rev. Ike. In the course of approximately three years, Medina

   performed sexual acts on Rev. Ike at least six times, including fellatio and manual masturbation.

   On an unspecified number of occasions, Rev. Ike ejaculated on Plaintiff during fellatio or after

   Plaintiff fellated him. Medina alleges that he objected to performing these acts, but conceded to

   performing them for fear of losing his job. In response to Medina’s objections, Rev. Ike would

   destroy work done by Medina in order to force him to redo it; assign him additional work; on at

   least one occasion required him to clean windows outside in the heat until Medina passed out and

   had to be taken to the hospital; would degrade and belittle Medina; and would threaten him with

   termination. On July 7, 2004 Medina filed an Equal Employment Opportunity Commission

   (EEOC) Charge of Discrimination, which was cross-filed with the Florida Commission on

   Human Relations on March 24, 20053. Plaintiff also initiated suit against Rev. Ike and UCEA in

   the 11th Judicial Circuit in and for Miami-Dade County, Florida. This case was removed to

   federal court, where Medina subsequently filed an Amended Complaint (his fifth, including the

   amended complaints filed in state court) which is the operative complaint and subject of the

   motion to dismiss. Plaintiff brings claims of assault, battery, intentional infliction of emotional

   distress, negligent retention and/or negligent supervision, sexual harassment under both the

   Florida Civil Rights Act (“FCRA”) and Title VII of the Civil Rights Act of 1964 ("Title VII"), 42

   U.S.C. § 2000e et seq., and retaliation under both the FCRA and Title VII. The negligent

   retention and/or negligent supervision, sexual harassment, and retaliation claims are all against

   only UCEA, whereas the assault, battery, and intentional infliction of emotional distress counts

   allege that Rev. Ike is also personally liable.


           3
            For sake of clarity, although not stated in the complaint and not relevant to the
   disposition of this motion, it appears from the record that Plaintiff’s employment with UCEA
   ceased in April 2004.
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           STANDARD OF REVIEW

           For purposes of a motion to dismiss under Rule 12(b)(6), the Court must accept plaintiff's

   allegations as true. See Hishon v. King & Spalding, 467 U.S. 69, 73 (1984); Holtzman v. B/E

   Aerospace, Inc., 2008 WL 214715, *1 (S.D. Fla Jan. 24, 2008) (“When considering a motion to

   dismiss, the Court must accept all of the plaintiff's allegations as true in determining whether a

   plaintiff has stated a claim for which relief could be granted.”) (citing Hishon, 467 U.S. at 73).

   This, however, does not give a plaintiff carte blanche to merely aver a formulaic recitation of the

   elements of a claim supported by conclusory labels. Watts v. Fla. Int’l Univ., 495 F.3d 1289,

   1295 (11th Cir. 2007) (quoting Bell Atl. Corp. v. Twombly, 127 S.Ct. 1955, 1965 (2007)

   (citations omitted). The complaint may be dismissed if the facts as plead do not state a claim to

   relief that is plausible on its face. See Twombly, 127 S.Ct. 1955, 1968-69, 1974 (2007)

   (abrogating the old “unless it appears beyond a doubt that the plaintiff can prove no set of facts . .

   . .” standard and replacing it with a standard requiring “only enough facts to state a claim to relief

   that is plausible on its face.”); Marsh v. Butler County, Ala., 268 F.3d 1014, 1037 (11th Cir.

   2001) (“Pleadings must be something more than an ingenious academic exercise in the

   conceivable.”) (en banc) (quoting United States v. Students Challenging Regulatory Ag. Proc.,

   412 U.S. 669, 688 (1973)). More simply, dismissal is appropriate if the plaintiff has not “nudged

   [its] claims across the line from conceivable to plausible.” Twombly, 127 S.Ct. at 1974. Finally,

   at the motion to dismiss stage, under Fed. R. Civ. P. 12(b)(6), a court can only examine the four

   corners of a complaint. Crowell v. Morgan Stanley Dean Witter Servs., Co., Inc., 87 F. Supp.2d

   1287 (S.D. Fla. 2000).

           DISCUSSION

           Defendants have moved to dismiss all counts. Their first argument is that there can be no

   vicarious liability for the alleged intentional torts of assault and battery. I will address the
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   question of vicarious liability as the need arises in each individual claim.

                  Assault

          Although there is some argument between the parties as to the proper definition of

   “assault,” the Florida courts have, for over sixty years, held to a singular definition. In Winn &

   Lovett Grocery Co. v. Archer, the Supreme Court of Florida defined assault: “An assault is any

   intentional, unlawful offer of corporeal injury to another by force, or force unlawfully directed

   toward the person of another, under such circumstances as to create a well-founded fear of

   imminent peril, coupled with the apparent present ability to effectuate the attempt if not

   prevented.” Archer, 171 So. 214, 217 (Fla. 1936). Archer remains good law and the standard

   definition. See Newman v. Gehl Corp., 731 F.Supp. 1048, 1050 (M.D. Fla. 1990) (noting that the

   parties agreed as to the proper definition and reciting nearly verbatim the definition in Archer,

   without citation); McDonald v. E. I. Ford, 223 So. 2d 553, 555 (same with citation to 3 Fla.Jur.,

   Assault and Battery, §3); Lay v. Kremer 411 So. 2d 1347, 1349 (Fla. 1st DCA 1982) (reciting a

   nearly identical definition); Colony Ins. Co. v. Barnes, 189 F. App’x 941, 943 (11th Cir. 2006)

   (per curiam) (unpublished decision) (stating that assault is defined under Florida law and quoting

   the Archer definition); 3A Fla.Jur. 2d, Assault—Civil Aspects, § 7 (“The creation of a

   well-founded fear of imminent peril in the victim is an essential element of tortious assault. An

   alleged victim who is unaware of an attempted assault, or who is not placed in fear of imminent

   harm as a result of the attempted assault, has suffered no compensable harm.”) (footnote

   omitted); 3 Fla. Pl. & Pr. Forms § 22:6 (“The prevailing view is that mere words alone are not

   sufficient to constitute assault where they are unaccompanied by any menacing action or attitude

   and do not constitute a threat or do not put the person toward whom they are directed in fear.”)

   (footnote omitted).

          Plaintiff’s use of an abbreviated definition from the dissenting opinion in Doe v. Evans,
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   814 So. 2d 379, 379 (Fla. 2002), is inappropriate. Not only is the definition stated in direct

   contradiction to Florida precedent but, when read in context, it is also obiter dictum. See id.

              Plaintiff’s Amended Complaint states, in relevant part: “Rev. Ike's actions created a

   reasonable fear of imminent peril in MEDINA, and Rev. Ike had the present ability to effectuate

   the unlawful and offensive touching of MEDINA.” See Am. Compl. ¶46. However, nowhere in

   the Amended Complaint does Medina state how he was put in imminent peril. There is no

   allegation of threat of force in the Amended Complaint. Moreover, in response to the motion to

   dismiss, Plaintiff does not argue that he was ever in fear of imminent peril. Instead, Plaintiff

   argues that “he was afraid of losing his job, [and] he constantly feared the immediate and/or

   imminent offensive sexual contact.” This cannot be the same as a well-founded fear of imminent

   peril. The definition specifically refers to “corporeal injury,” not fear of offensive contact.

              Medina has done precisely what the Supreme Court and Eleventh Circuit have said is

   insufficient to state a claim for relief -- he has provided only a formulaic recitation of the

   elements of a claim for assault. See Watts, 495 F.3d at 1295 ( “Of course, ‘a formulaic recitation

   of the elements of a cause of action will not do.’”) (quoting Twombly, 127 S.Ct. at 1965

   (citations omitted)). For the reasons stated above, I therefore conclude that Medina’s assault

   claim must be dismissed for failure to state a claim upon which relief can be granted. Because I

   find that this claim fails, I need not address the question of vicarious liability for the alleged

   assault.

                     Battery

              In Florida, “[b]attery consists of the infliction of a harmful or offensive contact upon

   another with the intent to cause such contact or the apprehension that such contact is imminent.”

   Quilling v. Price, 894 So. 2d 1061, 1063 (Fla. 5th DCA 2005) (citing Paul v. Holbrook, 696 So.

   2d 1311 (Fla. 5th DCA 1997)); see also Colony Ins. Co.,189 F. App’x at 943 (quoting Holbrook,
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   686 So. 2d at 1312). It is readily apparent that Plaintiff has adequately plead a claim for battery

   against Rev. Ike, at least with regards to Plaintiff’s allegations that Rev. Ike placed Plaintiff’s

   hand on Rev. Ike’s penis. See Am. Compl. ¶¶26-28.

          As to the remaining alleged incidents of battery, the issue appears to boil down to the

   defense of consent. Defendants argue that Medina consented to the sexual acts, and that

   therefore, no battery could occur. Medina counters that he maintained his objections to the

   sexual contact and did not consent. He argues that any consent implied by his performing the

   sexual acts was not truly consent, but was consent under fear of losing his employment,

   otherwise known as consent under duress, which can, under the right circumstances vitiate the

   defense of consent. See Restatement (Second) of Torts §892B (2008) (“Consent is not effective

   if it is given under duress.”). The Court has some reservations about whether Florida law

   supports a claim of “economic duress” to invalidate apparent consent, but this is not an issue to

   be decided on a motion to dismiss. Cf. NN Investors Life Ins. Co. v. Professional Group, Inc.,

   468 So. 2d 532, 533 (Fla. 3rd DCA 1985) (“But if the threat is less direct, being merely one of

   future arrest, or of “economic” duress, such as loss of employment, the courts have refused to say

   that the consent given , however reluctant it may be, is ineffective, so as to establish another tort

   [, the tort of duress].”) (quoting W. Prosser, The Law of Torts § 18 at 106-07 (4th ed. 1971));

   Reavis v. Slominski, 551 N.W.2d 528, 542 (Neb. 1996) (plurality opinion agreeing with

   defendant that the lower court erred in refusing to give a jury instruction stating that “A threat of

   economic duress such as the threat of a future loss of employment is not sufficient to invalidate

   the consent given.”)

          Plaintiff has sufficiently plead a claim for battery against Rev. Ike. On the facts presented

   in the Amended Complaint, the defense of consent is an issue to be addressed at the summary

   judgment or trial stages. Also to be addressed at a later stage is the question of employer
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   liability. Medina has set forth sufficient allegations, supported by facts which I must take as true,

   to maintain a vicarious liability action for battery against UCEA. Defendants’ conclusory

   arguments that the actions were outside the scope of Rev. Ike’s employment cannot support a

   motion to dismiss.

                  Intentional Infliction of Emotional Distress

          To state a claim for intentional infliction of emotional distress (hereinafter “IIED”) under

   Florida law a plaintiff must show: “1) deliberate or reckless infliction of mental suffering by

   defendant; 2) by outrageous conduct; 3) which conduct of the defendant must have caused the

   suffering; and 4) the suffering must have been severe.” Golden v. Complete Holdings, Inc., 818

   F.Supp. 1495, 1499 (M.D.Fla.1993) (citing Metro. Life Ins. Co. v. McCarson, 467 So. 2d 277,

   278 (Fla.1985)). The McCarson court found held that to prevail on an IIED claim, the conduct

   must be

                  so outrageous in character, and so extreme in degree, as to go
                  beyond all possible bounds of decency, and to be regarded as
                  atrocious, and utterly intolerable in a civilized community.
                  Generally, the case is one in which the recitation of the facts to an
                  average member of the community would arouse his resentment
                  against the actor, and lead him to exclaim, “Outrageous!”

   McCarson, 467 So. 2d at 278-79 (quoting Restatement (Second) of Torts § 46 cmt. d (1965)).

   Whether Defendants’, specifically Rev. Ike’s, conduct meets this standard is a question of law to

   be answered by the Court. Ayers v. Wal-Mart Stores, Inc., 941 F. Supp. 1163, 1167-68 (M.D.

   Fla. 1996) (citing Dependable Life Ins. Co. v. Harris, 510 So. 2d 985, 988 (Fla. 5th DCA 1987)

   and Ponton v. Scarfone, 468 So. 2d 1009, 1011 (Fla. 4th DCA 1985)). It is noteworthy that

   “Florida courts have consistently rejected claims for intentional infliction of emotional distress

   relating to sexual harassment . . . .” Golden, 818 F. Supp. at 1499. This does not foreclose

   Plaintiff’s claims, however. “The viability of a claim for intentional infliction of emotional

   distress is highly fact-dependent, and turns on the sum of the allegations in the specific case at
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   bar.” Vernon v. Med. Mgmt. Assoc. of Margate, Inc., 912 F. Supp. 1549, 1558 (S.D. Fla.1996). I

   find the alleged acts of oral sodomy under duress to be sufficiently severe and outrageous as to

   satisfy the second element of the cause of action. See, e.g., Stockett v. Tolin, 791 F. Supp. 1536,

   1556 (S.D.Fla.1992) (finding liability for intentional infliction of emotional distress where the

   plaintiff was repeatedly offensively touched, pinned against the wall, physically attacked, and

   subjected to offensive sexual comments); Vernon, 912 F. Supp. at 1560 (holding that, at the

   motion to dismiss stage, the sum of the allegations of unwelcome groping, squeezing, tickling,

   looking up plaintiff’s skirt, and unwelcome sexual comments were sufficient to support a claim

   of intentional infliction of emotional distress).

          Defendants have also argued that Plaintiff’s apparent inclination to return to work for the

   Defendants, and his lack of an allegation that he has sought treatment for his emotional suffering,

   completely undermine a claim for IIED. I do not agree. The Amended Complaint explicitly

   states that Medina has suffered severe emotional pain, as well as anguish and physical injury as a

   result of Defendants’ conduct. Although the severity of the suffering may be called into question

   by Plaintiff’s willingness to return to his former job, that and any other proof of Plaintiff’s

   emotional distress is to be determined through summary judgment motions or at trial. For

   purposes of the motion to dismiss, the allegations are sufficient to state a claim for intentional

   infliction of emotional distress. And, for the same reasons that applied to the battery claim, the

   vicarious liability claims here must also remain.

                  Negligent Retention / Negligent Supervision

          “Negligent retention and negligent supervision are cognizable under Florida law ‘when,

   during the course of employment, the employer becomes aware, or should have become aware, of

   problems with an employee that indicates his unfitness, and the employer fails to take further

   action such as investigation, discharge, or reassignment.’” Samedi v. Miami-Dade County, 134
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   F. Supp. 2d 1320, 1352 (S.D.Fla. 2001) (quoting Grice v. Air Prods. & Chems., Inc., 82 Fair

   Empl. Prac. Cas. (BNA) 532, available at 2000 WL 353010, at *14, (N.D.Fla. Feb.17, 2000)).

   As both claims sound in negligence, Plaintiff is required to prove duty, breach, causation, and

   damages to sustain either or both claims. See Samedi, 134 F. Supp. 2d at 1353. Moreover, “the

   underlying wrong allegedly committed by an employee in a negligent supervision or negligent

   retention claim must be based on an injury resulting from a tort which is recognized under

   common law.” Scelta v. Delicatessen Support Servs., Inc., 57 F. Supp. 2d 1327, 1348

   (M.D.Fla.1999).

          First, I note that while Defendants’ argument that this claim must fail because there is no

   underlying tort may eventually prevail, it cannot do so at this point because I have already

   determined that the battery claim may proceed. See supra; Samedi, 134 F. Supp. 2d at 1353 n. 30

   (“[A]llegations of assault and battery can provide the type of underlying wrong sufficient to

   sustain claims of negligent supervision or negligent retention.”). Second, Medina’s Amended

   Complaint states explicitly that UCEA was “actually or constructively put on notice of Rev. Ike's

   unfitness when Andrew Brown complained that he was sexually harassed by Rev. Ike.” Am.

   Compl. ¶88. This, combined with several related allegations and supporting paragraphs, more

   than sufficiently placed Defendants on notice of Plaintiff’s claims and the bases for them. The

   extent of the notice, if any, and the veracity of the alleged previous complaint, is not to be tested

   on a motion to dismiss. See Hishon, 467 U.S. at 73 (“For purposes of a motion to dismiss under

   Rule 12(b)(6), the Court must accept plaintiff's allegations as true.”). Lastly, Defendants provide

   no legal support for their argument that Plaintiff cannot plead both that Rev. Ike negligently

   retained or supervised himself, and that UCEA negligently retained and supervised Rev. Ike. The

   negligent retention / negligent supervision claims satisfy the pleading requirements set forth in

   the Federal Rules of Civil Procedure as interpreted by the Supreme Court.
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                   Sexual Harassment

           Defendants move to dismiss the state and federal sexual harassment claims, relying

   principally on the argument that the sexual contact was consensual and therefore not subjectively

   severe and pervasive. In addition, Defendants argue that Plaintiff has failed to sufficiently allege

   how he has exhausted his administrative remedies. Both of these arguments are without merit.

           Decisions addressing sexual harassment under Title VII also apply to FCRA claims of

   sexual harassment. Harper v. Blockbuster Entm’t Corp. 139 F.3d 1385, 1387 (11th Cir. 1998)

   (“The Florida courts have held that decisions construing Title VII are applicable when

   considering claims under the Florida Civil Rights Act, because the Florida act was patterned after

   Title VII.”).

                   To establish a hostile-environment sexual-harassment claim under
                   Title VII based on harassment by a supervisor, an employee must
                   show: (1) that he or she belongs to a protected group; (2) that the
                   employee has been subject to unwelcome sexual harassment, such
                   as sexual advances, requests for sexual favors, and other conduct of
                   a sexual nature; (3) that the harassment must have been based on
                   the sex of the employee; (4) that the harassment was sufficiently
                   severe or pervasive to alter the terms and conditions of
                   employment and create a discriminatorily abusive working
                   environment; and (5) a basis for holding the employer liable.

   Mendoza v. Borden, Inc., 195 F.3d 1238, 1245 (11th Cir. 1999) (citing Henson v. City of

   Dundee, 682 F.2d 897, 903-05 (11th Cir.1982)).

           It is remarkable to the Court that both parties failed to cite the controlling Supreme Court

   precedent directly on point. Instead of wasting both their time and this Court’s time, a few

   minutes of simple research would have uncovered that the question is not whether participation

   in the sexual acts was voluntary, but whether it was unwelcome. Defendants strenuously argue

   that Plaintiff’s actions were consensual, and thereby the alleged harassment was not subjectively
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   (or even objectively) severe and pervasive. This entirely misses the function of the sexual

   harassment statutes. The Supreme Court made clear in Meritor Sav. Bank, FSB v. Vinson that

                  the fact that sex-related conduct was “voluntary,” in the sense that
                  the complainant was not forced to participate against her will, is
                  not a defense to a sexual harassment suit brought under Title VII.
                  The gravamen of any sexual harassment claim is that the alleged
                  sexual advances were “unwelcome.” 29 CFR § 1604.11(a) (1985).
                  While the question whether particular conduct was indeed
                  unwelcome presents difficult problems of proof and turns largely
                  on credibility determinations committed to the trier of fact, the
                  District Court in this case erroneously focused on the
                  “voluntariness” of respondent's participation in the claimed sexual
                  episodes. The correct inquiry is whether respondent by her conduct
                  indicated that the alleged sexual advances were unwelcome, not
                  whether her actual participation in sexual intercourse was
                  voluntary.

   477 U.S. 57, 68 (1986). Here, Plaintiff has repeatedly claimed that the sexual contact was

   unwelcome and objected to. This is all that is necessary in the Amended Complaint. Similar to

   the IIED claim, there may be some doubt as to how subjectively severe and pervasive the alleged

   harassment was, but this doubt does not sink the claim at the motion to dismiss stage.

          Additionally, I cannot agree with the argument that the claims must be dismissed because

   Plaintiff has not specified how he has exhausted his administrative remedies. Plaintiff has

   alleged that he filed an EEOC charge that was cross-filed with the Florida Commission on

   Human Relations and that all conditions precedent have occurred or been performed. Federal

   Rule of Civil Procedure 9(c) provides that “[i]n pleading the performance or occurrence of

   conditions precedent, it suffices to allege generally that all conditions precedent have occurred or

   been performed. But when denying that a condition precedent has occurred or been performed, a

   party must do so with particularity.” Fed.R.Civ.P. 9(c). See also Jackson v. Seaboard Coast Line

   R. Co., 678 F.2d 992, 1010 (11th Cir. 1982) (explaining application of Rule 9(c) in a Title VII

   action). Plaintiff has met this standard and Defendant, in arguing for dismissal, has not denied

   with particularity that any condition precedent has not been met. Accordingly, both the Title VII
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   and FCRA based sexual harassment claims will not be dismissed.

                  Retaliation

          For the same reasons expressed above, the Title VII and FCRA retaliation claims are

   analyzed together. “[A] plaintiff alleging a retaliation claim under Title VII must begin by

   establishing a prima facie case; the plaintiff must show (1) that [he] engaged in statutorily

   protected activity, (2) that an adverse employment action occurred, and (3) that the adverse

   action was causally related to the plaintiff's protected activities.” Coutu v. Martin County Bd. of

   County Com'rs , 47 F.3d 1068, 1074 (11th Cir. 1995).

          Defendants first contend that the only alleged statutorily protected activities were

   Plaintiff’s alleged objections to Rev. Ike’s sexual advances. They argue that because Medina

   consented to perform the sexual acts on Rev. Ike, he cannot assert that his alleged objections are

   statutorily protected expressions. This argument suffers from the same defect as Defendants’

   sexual harassment argument; to wit, the question is not one of voluntariness, but one of

   unwelcomeness. Even if Medina did eventually consent to perform the acts, his objections

   would still be statutorily protected expressions.

          Defendants’ second argument, that no adverse employment action occurred, fairs no

   better. For retaliation to be actionable, “a plaintiff must show that a reasonable employee would

   have found the challenged action materially adverse, which in this context means it well might

   have dissuaded a reasonable worker from making or supporting a charge of discrimination.”

   Burlington Northern and Santa Fe Ry. Co. v. White, 548 U.S. 53, 67-68 (U.S.) (citations and

   internal quotation marks omitted). “[N]ormally petty slights, minor annoyances, and simple lack

   of good manners will not create such deterrence.” Id. However, this is an objective standard

   dependant on the particular circumstances for a determination of material adversity. Medina has

   alleged that Rev. Ike, in retaliation for Medina’s opposition to performing sexual acts,
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   intentionally ruined work previously performed, only to require Plaintiff to redo it; unreasonably

   criticized Medina’s work with the intent to demoralize him; forced Plaintiff to work in the heat

   without regard to his health; increased his work load; and threatened to withhold Medina’s pay if

   Medina would not perform oral sex on him.

          These allegations state a claim for retaliation under Title VII and the FCRA. The actual

   adversity or harm caused by these actions can be challenged on a motion for summary judgment

   or at trial, but the motion to dismiss will be denied. Defendants’ argument regarding exhaustion

   of administrative remedies for the retaliation claims has no more merit than it did in the sexual

   harassment claims.

          CONCLUSION

          For the reasons stated above Defendants’ Motion to Dismiss [DE 5] is GRANTED in

   part and DENIED in part as follows:

          (1) The Motion to Dismiss is GRANTED as to Count I (Assault), and Count I (Assault)

   is DISMISSED as to all Defendants;

          (2) The Motion to Dismiss is DENIED as to all other Counts.


          DONE and ORDERED in chambers, Miami, Florida, this 9th day of March 2009.




   Copies furnished to:
   The Hon. Ted E. Bandstra
   Counsel of Record
